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EXHIBIT 15
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,
Plaintiff/Counter-Defendant,
VS. Case No. 11-cv-12422-AC-MKM
Hon. Avern Cohn
WILLIAM KEENE, JENNIFER KEENE,
MONICA LYNNE LUPILOFF, NICOLE RENEE
LUPILOFF and NICOLE RENEE LUPILOFF,
PERSONAL REPRESENTATIVE OF THE ESTATE
OF GARY LUPILOFF, DECEASED,
Defendants,
and

MONICA LYNNE LUPILOFF, NICOLE RENEE

LUPILOFF and NICOLE RENEE LUPILOFF,

PERSONAL REPRESENTATIVE OF THE ESTATE

OF GARY LUPILOFF, DECEASED,
Defendants/Counter-Plaintiffs and Cross-Plaintiffs,

vs.

WILLIAM KEENE, JENNIFER KEENE,
Individually, jointly and severally,
Defendants/Cross-Defendants.

STIPULATED ORDER COMPELLING DEFENDANT, JENNIFER KEENE, TO
ANSWER DISCOVERY REQUESTS FROM PLAINTIFF
NATIONWIDE LIFE INSURANCE COMPANY

The plaintiff, Nationwide Life Insurance Company, having filed a motion to compel the
defendant, Jennifer Keene, to provide complete answers to Nationwide’s discovery requests and
defendant Jennifer Keene having stipulated to respond to Nationwide’s discovery requests,

IT IS HEREBY ORDERED that the defendant, Jennifer Keene, answer the
interrogatories and requests to produce by plaintiff, Nationwide Life Insurance Company, to
defendant Jennifer Keene dated 7/21/11 within 14 days from the date of entry of this order.

Dated: April 18, 2012 s/ Avern Cohn
U.S. District Judge

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Approved as to form:

/s/Michael F. Schmidt
Michael F. Schmidt P25213
Attomey for Plaintiff

/s/John H. Bredell
John H. Bredell P36577
Attomey for Keenes

